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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION


DUSTY RAY SPENCER,

                 Plaintiff,

v.                                                                         Case No. 3:17-cv-73-J-39PDB

JULIE JONES, et al.,

                 Defendants.



                   NOTICE OF DESIGNATION UNDER LOCAL RULE 3.05

         Please take notice that, in accordance with Local Rule 3.05, this action is

designated as a Track           One       Case. Filing party (who instituted suit in this Court)

is responsible for serving a copy of this notice upon all other parties.                     However,

all parties shall meet the requirements established in Local Rule 3.05 for cases

designated on this track. All parties must send courtesy copies to chambers of all filings

that exceed 25 pages, inclusive of exhibits, regardless of whether the filing is done

electronically or in paper.

                                                               SHERYL L. LOESCH, CLERK

                                                               By:    s/ AP
                                                                      Deputy Clerk

Date: February 9, 2017

Distribution:    - Copy to filing party: -- habeas petitioner, bankruptcy appellant(s),
                                              or removing defendant(s)




[Track 1 pet/habeas updated 7/17/2013]
